Case 1:19-cv-22601-DPG Document 13 Entered on FLSD Docket 08/01/2019 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  ROBERTO ORTIZ,

          Plaintiff,

  v.                                                               Case No. 19-CV-22601
  EXPERIAN INFORMATION SOLUTIONS, INC.,
  TRANSUNION LLC, and AMERICAN HONDA
  FINANCE CORPORATION,

          Defendants,

  DEFENDANT, AMERICAN HONDA FINANCE CORPORATION’S CERTIFICATE OF
      INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT

          Defendant, AMERICAN HONDA FINANCE CORPORATION (“AHFC”), by and

  through its undersigned counsel, and pursuant to Federal Rule of Civil Procedure 7.1, hereby

  files this Certificate of Interested Persons and Corporate Disclosure Statement, and states as

  follows:

          1)      The name of each person, attorney, association of persons, firm, law firm,

  partnership, and corporation that has or may have an interest in the outcome of this action –

  including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies

  that own 10% or more of a party’s stock, and all other identifiable legal entities related to any

  party in this case:

                  A. Roberto Ortiz, Plaintiff.

                  B. Leo Bueno, Esq., as attorney for Plaintiff.

                  C. Leo Bueno, Attorney, PLLC, as attorneys for Plaintiff.

                  D. Joey D. Gonzalez, Esq., as attorneys for Plaintiff.

                  E. Joey Gonzalez, Attorney, P.A., as attorneys for Plaintiff.
Case 1:19-cv-22601-DPG Document 13 Entered on FLSD Docket 08/01/2019 Page 2 of 4



                 F. Defendant, EXPERIAN INFORMATION SOLUTIONS, INC..

                 G. Defendant, TRANSUNION LLC.

                 H. Defendant, AMERICAN HONDA FINANCE CORPORATION (“AHFC”).

                 I. C. Brent Wardrop, Esq., as trial counsel for Defendant, AHFC.

                 J. Quintairos, Prieto, Wood & Boyer, P.A., as counsel for Defendant, AHFC.

         2)      The name of every other entity whose publicly-traded stock, equity, or debt may

  be substantially affected by the outcome of the proceedings:

         None known.

         3)      The name of every other entity which is likely to be an active participant in the

  proceedings, including the debtor and members of the creditors’ committee (or twenty largest

  unsecured creditors) in bankruptcy cases:

         None known.

         4) The name of each victim (individual or corporate) of civil and criminal conduct

  alleged to be wrongful, including every person who may be entitled to restitution:

         Plaintiff, Roberto Ortiz, alleges that he is entitled to restitution as against AHFC and the

  co-Defendants for alleged willful and negligent violations of the FCRA. AHFC denies all

  material allegations of wrongdoing and disputes that Plaintiff is entitled to recovery.




                                                   2
Case 1:19-cv-22601-DPG Document 13 Entered on FLSD Docket 08/01/2019 Page 3 of 4



         I hereby certify that, except as disclosed above, I am unaware of any actual or potential

  conflict of interest involving the district judge and magistrate judge assigned to this case, and

  will immediately notify the Court in writing on learning of any such conflict.



         Dated: This 1st day of August, 2019.


                                        QUINTAIROS, PRIETO, WOOD & BOYER, P.A.

                                        By:    /s/ C. Brent Wardrop
                                            C. Brent Wardrop, Esq.
                                            10902 Crabapple Road
                                            Roswell, Georgia 30075
                                            Tel: (770) 650-8737
                                            brent.wardrop@qpwblaw.com
                                        Attorneys for Defendant American Honda Finance
                                        Corporation




                                                  3
Case 1:19-cv-22601-DPG Document 13 Entered on FLSD Docket 08/01/2019 Page 4 of 4



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 1st day of August, 2019, I electronically filed the

  foregoing document with the Clerk of the Court using the CM/ECF system, which will send a

  notice of electronic filing to the following counsel of record:

  Leo Bueno, Esq.                                       Joey D. Gonzalez, Esq.
  Leo Bueno, Attorney, PLLC                             Joey Gonzalez, Attorney, P.A.
  P.O. Box 141679                                       P.O. Box 145073
  Coral Gables, FL 33114-1679                           Coral Gables, FL 33114-5073
  Leo@BuenoLaw.com                                      Joey@JoeyGonzalezLaw.com
  Attorneys for Plaintiff                               Attorneys for Plaintiff




                                                By:       C. BRENT WARDROP
                                                          C. Brent Wardrop, Esq.




                                                    4
